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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF OHIO
 WESTERN DIVISION - CINClNNATI


 Jeff Pyfrin,
 Plaintiff,

V.


City of Hamilton, Ohio;
Lieutenant Eric Taylor, in his individual and official capacity;
Brittney Geurin, in h er individual and official capacity;
Craig Bucheit, former Chief of Police and now acting City Manager, in his individual and
official capacity;
Trent Chenoweth, former Captain and now Chief of Police, in his individual and official
capacity;
Public Safety Director Scott Scrimizzi, in his individual and official capacity;
Attorney Brian Harrison, Hamilton Law Director Office, in his individual and official
capacity;
Frost Brown Todd LLC; Attorney for City of Hamilton;
Assistant Chief Shawn Fryman, in his individual and official capacity.


 Defendants.


                     1: 25CV~47
 Civil Action No. _ _ __

 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF UNDER 42 U.S.C. § 1983

 I. JURISDICTION AND VENUE

 1. This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343, as it arises
 under the U.S. Constitution and federal civil rights laws, specifically 42 U.S.C. § 1983.

 2. Venue is proper under 28 U.S.C. § 1391(b) because the events or omissions giving rise to
 this complaint occurred in the Southern District of Ohio.

 II. PARTIES

 3. PlaintiffJeff Pyfrin is a private citizen of the United States res iding in Columbus, Ohio.

 4-. Defendants ar e public officials and government entities involved in conduct that violated
 Plaintiffs constitutional rights, as outlined below.
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 III. FACTUAL ALLEGATIONS

 A Retaliation Following Disclosure of Dash Camera Footage (September 2023)

 On September 22, 2023, Plaintiff received dash camera footage from Lieutenant Eric Taylor
 of the Hamilton Police Department. This footage, which constituted either a public record or
 evidence in a pending criminal investigation, was voluntarily released by Taylor without
 any condition or objection at the time.

Shortly after reviewing the footage, Plaintiff informed Lieutenant Taylor of his intent to file
a formal complaint concerning police conduct. In apparent retaliation, on September 26,
2023, Taylor sent an email to Records Officer Brittney Geurin instructing her not to release
any additional public records to Plaintiff unless personally approved by him. Taylor claimed
this restriction was necessary because Plaintiff was allegedly attempting to circumvent the
discovery process of the court. However, this justification is undermined by Taylor's own
prior release of the same category of material (the dash footage) just four days earlier.

This post hoc restriction was not based on law or policy but appeared to be a response to
Plaintiffs exercise of First Amendment rights. As a result, Plaintiff was subsequently denied
access to further public records, despite the City's obligation under Ohio's Sunshine Law.
Plaintiff was also informed that all additional materials were considered "evidence in a
pending criminal case" -even though Taylor had already disclosed similar materials. The
inconsistency underscores that the restriction was retaliatory in nature.

Defendants Craig Bucheit (then-Chief of Police and now acting City Manager) and Trent
Chenoweth (then-Captain and now Chief of Police) were aware of Taylor's directive and
allowed it to stand without correction or justification, thus enabling the violation of
Plaintiffs rights.

 B. Threatening Phone Call and First Amendment Retaliation (August 2024)

In August 2024, Plaintiff Jeff Pyfrin, a former Deputy Sheriff employed by the Warren
County Sheriffs Office, received a phone call from Major Brian Tinch of that department.
Acting on instructions from then-Chief Deputy Barry Riley, Tinch warned Plaintiff that ifhe
did not remove a satirical social media page critical of the City of Hamilton, he would face
criminal charges, lawsuits, or arrest.

This call was not initiated by Plaintiffs employer or by any matter related to Warren
County; rather, it was instigated at the request of Scott Scrimizzi, Public Safety Director for
the City of Hamilton, who holds no official authority or jurisdiction over the Warren County
Sheriffs Office. This misuse ofinteragency communication channels to retaliate against a
private citizen constitutes a gross overreach of authority and a textbook example of
unconstitutional prior restraint.
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 The threat had its intended effect: fearing professional and legal consequences, Plaintiff
 removed the satirical content. As a direct result of this incident, Plaintiffs long-standing
 professional relationships and bonds within the Warren County Sheriffs Office were
 seriously damaged. Trust built over years of public service was fractured, and Plaintiff
 experienced significant reputational and emotional harm within his former law
 enforcement community.


 C. Emotional Harm and Intimidation (August 23, 2024)

 On or about August 23, 2024, Plaintiff contacted Chief Deputy Barry Riley to express the
 emotional distress he suffered as a result of the threatening phone call. Riley confirmed via
 email that the call was made at the request of Scott Scrimizzi.

 Despite Riley's claimed uncertainty regarding Scrimizzi's intentions, the outcome was clear:
 Plaintiff removed constitutionally protected speech from public view under pressure and
 fear of retaliation. This caused not only emotional distress, but also professional alienation.
 Plaintiffs integrity and credibility as a former law enforcement officer were called into
 question by his peers-individuals with whom he had developed strong bonds over many
 years of public service. These harms, both emotional and relational, were a foreseeable and
 direct result of Defendants' retaliatory conduct.


 On or around August 23, 2024, Plaintiff contacted Chief Deputy Riley to report the
 emotional distress he suffered as a result of the intimidating phone call. Riley responded via
 email confirming that he had spoken to Scott Scrimizzi and that the call had been made at
 Scrimizzi' s request

 Despite Riley's claimed uncertainty about Scrimizzi's intentions, the outcome was
 unambiguous: Plaintiff removed his protected speech under threat. When Plaintiff
 attempted to follow up with Scrimizzi directly, he was served with a threatening legal letter
 from Frost Brown Todd LLC.

 D. Retaliatory Legal Threats and Communication Restrictions (August 2024)

Fallowing the phone call and attempted contact with Scrimizzi, Plaintiff received a formal
letter from Frost Brown Todd LLC. The letter referred to Plaintiffs online content as "false,
vile, and libelous," and threatened both civil and criminal action. It also imposed a sweeping
communication ban, directing all City staff to cease contact with Plaintiff and requiring that
all communication be funneled exclusively through Attorney Brian Harrison at the City of
Hamilton Law Director's Office.

 Plaintiff was offered no hearing, appeal, or opportunity to respond to these restrictions,
 amounting to a denial of due process and further First Amendment retaliation.
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 E. Police Deflection and Denial of Redress (December 2024)

 In December 2024, Plaintiff sought to engage with Hamilton Police officers regar~ing a
 criminal complaint they were actively investigating against him. However, instead of
 addressing his inquiry, officers refused to speak with Plaintiff and told him to contact Brian
 Harrison, a civil attorney, rather than any law enforcement official.

 This refusal was based on an internal order issued by Assistant Chief Shawn Fryman, who
 directed that no officers were to speak with Plaintiff. This represents an extreme and
 unconstitutional deflection of the criminal justice process, denying Plaintiff the ability to
 defend himself or access redress.

• This incident was captured on video and is attached as Exhibit G.

 Count I- First Amendment Retaliation (42 U.S.C. § 1983)

Plaintiff alleges that Defendants Taylor, Geurin, Bucheit, Chenoweth, Scrimizzi, Harrison,
and Frost Brown Todd acted under color oflaw to retaliate against him for engaging in
protected speech. The retaliation included restricting access to public records, threatening
legal and criminal consequences for speech, and instructing city officials to cease
communication with the Plaintiff. Such actions violate the First Amendment's guarantee of
free speech. See Hartman v. Moore, 547 U.S. 250 (2006); Thaddeus-Xv. Blatter, 175 F.3d
378 (6th Cir. 1999) (en bane); Bloch v. Ribar, 156 F.3d 673 (6th Cir.1998).


Additional support: Providing a public record (dash camera footage) and then restricting
access to all other records solely after the exercise of protected speech (i.e., expressing
intent to file a complaint) constitutes retaliation under the First Amendment. See
McLaughlin v. Pezzolla, 2021 WL 4206736 (S.D. Ohio 2021) (finding retaliation when
officials denied access to public processes in response to protected speech); Graham v.
Henderson, 89 F.3d 75 (2d Cir. 1996) (official actions taken after protected speech can
demonstrate retaliation under§ 1983). This conduct need not be severe so long as it would
deter a person of ordinary firmness from continuing to speak. See Thaddeus-Xv. Blatter,
175 F.3d 378 (6th Cir.1999) (en bane).


 Count II - Violation of Ohio Sunshine Law (O.R.C. § 149.43)

Plaintiff alleges that Defendants Taylor and Geurin unlawfully denied him access to public
records in retaliation for exercising his constitutional rights. This denial was done without
lawful justification and directly violated Ohio's Sunshine Law. See State ex rel. Wadd v.
Cleveland, 81 Ohio St.3d 50 (1998); State ex rel. Steckman v. Jackson, 70 Ohio St.3d 420
(1994).

 Count III - Fourteenth Amendment Due Process (42 U.S.C. § 1983)
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 Plaintiff was subjected to restrictions and threats without notice or an opportunity to be
 heard. Defendants including Scrimizzi, Harrison, and Frost Brown Todd imposed
 communication bans and legal threats without any due process. Such conduct constitutes a
 violation of Plaintiffs right to procedural due process. See Mathews v. Eldridge, 424 U.S. 319
 (1976); Zinermon v. Burch, 494 U.S.113 (1990); Warren v. City of Athens, 411 F.3d 697 (6th
 Cir. 2005).

 Count IV - Prior Restraint and Compelled Speech (42 U.S.C. § 1983)

 Defendants Scrimizzi, Riley, and Tinch coerced Plaintiff into removing constitutionally
 protected satirical content from social media under threat of arrest, lawsuits, and
 prosecution. This constitutes unconstitutional prior restraint and compelled speech. See
 Novakv. City of Parma, 932 F.3d421 (6th Cir. 2019); Bantam Books, Inc. v. Sullivan, 372 U.S.
 58 (1963); McGlone v. Bell, 681 F.3d 718 (6th Cir. 2012).




 V. PRAYER FOR RELIEF

 WHEREFORE, PlaintiffJeff Pyfrin respectfully requests that this Court grant the following
 relief:

 1. Compensatory damages in the amount of$300,000 against the City of Hamilton for the
 constitutional violations described herein.

 2. Punitive damages in the amount of $200,000 against Lieutenant Eric Taylor for his
 individual role in restricting Plaintiffs access to public records and retaliatory conduct

 3. Punitive damages in the amount of $200,000 against Brittney Geurin for her participation
 in the denial of public records.

 4. Punitive damages in the amount of $200,000 against Craig Bucheit, former Chief of Police
 and now acting City Manager for his supervisory role in permitting unconstitutional actions.

 5. Punitive damages in the amount of $200,000 against Trent Chenoweth, former Captain
 and now Chief of Police for his supervisory role in permitting unconstitutional actions.

 6. Punitive damages in the amount of $200,000 against Public Safety Director Scott
 Scrimizzi for orchestrating retaliatory communications and threats.

 7. Punitive damages in the amount of $200,000 against Attorney Brian Harrison for legal
 threats and denial of due process through his communication restricting Plaintiffs rights.

 9. Punitive damages in the amount of $200,000 against Assistant Chief Shawn Fryman for
 his role in issuing a no-contact order and participating in retaliatory obstruction.
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 8. Punitive damages in the amount of$200,000 against Frost Brown Todd LLC for
 participating in retaliatory legal threats and actions violating Plaintiffs constitutional rights.

 9. Injunctive relief ordering the City of Hamilton and its officials to cease and desist from
 any further retaliation or constitutional violations against Plaintiff.

 10. Declaratory judgment that the actions of the Defendants violated Plaintiffs
 constitutional rights under the U.S. Constitution.

 11. An award of costs, including reasonable attorney's fees pursuant to 42 U.S.C. § 1988.

 12. Any other relief the Court deems just and proper.




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 Exhibit Index
 The following exhibits are submitted in support of Plaintiff Jeff Pyfrin's Complaint for
 Damages and Injunctive Relief under 42 U.S.C. § 1983:



 Exhibit A: Email from Lt. Eric Taylor restricting public records access unless personally
 approved by him.

 Exhibit 8: Follow-up communications from Brittney Geurin r eflecting refusal to release
 public records.

 Exhibit C: City of Hamilton Sunshine Law policy document.

 Exhibit D: Pending - Transcript or summary of threatening phone call made by Major Brian
 Tinch at direction ofBarry Riley (to be filed upon certification).

 Exhibit E: Email from Barry Riley confirming conversation with Scott Scrimizzi regarding
 satirica l social media page.

 Exhibit F: Letter from Frost Brown Todd LLC limiting Plaintiffs communication with all city
 officials a nd redirecting all contact to Attorney Brian Harrison.

 Exhibit G: Video file showing Hamilton Police Department officers refusing to speak with
 Plaintiff and directing him to Attorney Brian Harrison.

 Exhibit H: Pending - Statement and supporting medical documentation related to Plaintiffs
 emotional distress (to be filed upon certification).

 Exhibit I: Video of Plaintiff receiving and viewing das h came ra footage provided by Lt. Eric
 Taylor, documenting either a public record or criminal evide nce, as characterized by the
 City of Hamilton.
